             Case 22-54168-wlh                           Doc 1         Filed 06/02/22 Entered 06/02/22 15:03:58                                 Desc
                                                                       petition Page 1 of 5

                                                                                                                              111-ttit' ICY
                                                                                                                           %111EMI Ell5TRV!i
 Fill in this information to identify the case:                                                                             CF GFORGIA

 United States Bankruptcy Court for the:
                                                                                                                           AN -2 PM 3:0 1
                            District of
                                          (State)                                                                                     :0MAS
                                                                  Chapter                                                               0 Check if this is an
                                                                                                                                            _amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name
                                                        Levd u? c1r4Var 4 ( SolvPutvc,
 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                            1.
                                                         ÷
    Identification Number (EIN)



 4. Debtor's address                            Principal place of business                                     Mailing address, if different from principal place
                                                                                                                of business

                                                    Z    41;
                                                    Number
                                                                   r4 tOVM
                                                                 Street
                                                                                knetf.      )   13r Steilo      Number       Street


                                                                                                                P.O. Box

                                                    cr6,11,54N                      State       ZIP Code                                    State       ZIP Code
                                                                                                                City

                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business

                                                    County                                                      905 Street
                                                                                                                    VkAt51-cur& arelk,
                                                                                                                Number




                                                                                                                City
                                                                                                                                         Gh
                                                                                                                                          State
                                                                                                                                                       3c4q
                                                                                                                                                       ZIP ode



  s. Debtor's website (URL)




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Debtor                                                                                             Case number (irknown)


                                                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                          0 Partnership (excluding           LLP)
                                                Other. Specify:


                                          A. Check one:
 7. Describe debtor's business
                                          O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          ialingle Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                Railroad (as defined in 11 U.S.C. § 101(44))
                                          0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          O None of the above

                                          B. Check all that apply:

                                          0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                          0     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             htto://www.uscourts.qov/four-dieit-national-association-naics-codes .



  8. Under which chapter of the           Check one:
     Bankruptcy Code is the
                                          •     Chapter 7
     debtor filing?
                                          O Chapter 9
                                          LirChapter 11. Check all that apply.
                                                              U Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                4/01/25 and every 3 years after that).
                                                                  O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                     debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                     of operations, cash-flow statement, and federal income tax return or if all of these
                                                                    ,,documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                       he debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                       chooses to proceed under Subchapter V of Chapter 11.

                                                                  O A plan is being filed with this petition.

                                                                  •    Acceptances of the plan were solicited prepetition from one or more classes of
                                                                       creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                  •    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                       Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                       Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                       for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                  El   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                       12b-2.
                                          •      Chapter 12

  9. Were prior bankruptcy cases          Vti   No
     filed by or against the debtor
     within the last 8 years?                   Yes. District                                   When                       Case number
                                                                                                       MM/ DD / YYYY
         If more than 2 cases, attach a
                                                       District                                 When                       Case number
         separate list.
                                                                                                       MM / DD/YYYY


  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
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Debtor                                                                                       Case number (if known)
               ame



 io. Are any bankruptcy cases
     pending or being filed by a
     business partner or an             0 Yes. Debtor                                                                 Relationship
     affiliate of the debtor?                       District                                                          When
                                                                                                                                     MM / DD        /YYYY
     List all cases. If more than 1,
     attach a separate list.                        Case number, if known


 11.Why is the case filed in this       Check all that apply:
     district?
                                        2.. r) ebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                        0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12.Does the debtor own or have
    possession of any real        1..alres. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                    Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                    O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?

                                                    O It needs to be physically secured or protected from the weather.

                                                    O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                 Ll     Other          fteackeg
                                                    Where is the property? N          V)    W     6-1451
                                                                                                      -                    r‘cte
                                                                               Number          Street



                                                                                 0 11114k
                                                                               City                                                             034
                                                                                                                                     State ZIP le


                                                    Is the property insured?

                                                    O No
                                                 ICK'es. Insurance agency       PO r2; £'& V54          ilk9u,rCAACOS
                                                               Contact name                             c,1-5
                                                               Phone              rloca                    - O1'lel

              Statistical and administrative information


  13.Debtor's estimation of              Check one:
     available funds                    P'Funds will be available for distribution to unsecured creditors.
                                         0 After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              -49                             0 1,000-5,000                                0   25,001-50,000
  14.Estimated number of                 0 50-99                              0 5,001-10,000                                 0 50,001-100,000
     creditors
                                         0 100-199                            0 10,001-25,000                                0 More than 100,000
                                         0 200-999


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Debtor
             N
              keptil u()                              giit-zaitc p.c.;                           Case number (if known)


                                         LI $0-$50,000                       LI $1,000,001-$10 million                       LI $500,000,001-$1 billion
 15. Estimated assets                    LI $50,001-$100,000                 LI $10,000,001-$50 million                      LI $1,000,000,001-$10 billion
                                          Wr$100,001-$500,000                LI $50,000,001-$100 million                     LI $10,000,000,001-$50 billion
                                          0 $500,001-$1 million              LI $100,000,001-$500 million                    LI More than $50 billion

                                          O $0-$50,000                       0 $1,000,001-$10 million                        LI $500,000,001-$1 billion
 is. Estimated liabilities                                                   0 $10,000,001-$50 million                       LI $1,000,000,001-$10 billion
                                          O $50,001-$100,000
                                          it$100,001-$500,000                0 $50,000,001-$100 million                      LI $10,000,000,001-$50 billion
                                           O $500,001-$1 million              0 $100,000,001-$500 million                    0   More than $50 billion




11111        Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor

                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                          I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on    00 69-1551(3
                                                             MM /DD /qYYY



                                              Signature of authorized representative of debtor
                                                                                                                  rtk,64,e1
                                                                                                              Printed name

                                              Title       Agmbe

  is. Signature of attorney
                                                                                                              Date
                                               Signature of attorney for debtor                                            MM     / DD / YYYY




                                              Printed name

                                              Firm name

                                              Number         Street

                                              City                                                                 State           ZIP Code


                                              Contact phone                                                        Email address




                                              Bar number                                                           State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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   Case Number:22-54168                               Name:         Level Up Property Solutions, LLC                            Chapter: 11

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                               El Non-Individual - Series 200 Forms
 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                           Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                          O Last 4 digits of SSN
 0 Pro Se Affidavit (due within 7 days, signature must be notarized,                           O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                          Li Type of Debtor
 El Signed Statement of SSN (due within 7 days)                                                O Chapter
                                                                                               O Nature of Debts
  MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                         O Statistical Estimates
   El Statement of Financial Affairs                                                           O Venue
      Schedules: A/B D El F G H                                                                O Attorney Bar Number
  • Summary of Assets and Liabilities
  El Declaration About Debtor(s) Schedules
                                                                                                              Case filed via:
  El Attorney Disclosure of Compensation
                                                                                          El Intake Counter by:
  El Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                               O Attorney
  El Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                               O Debtor - verified ID:
  El Chapter 13 Current Monthly Income
                                                                                               N Other - copy of ID: Member: Bradley Smith
  El Chapter 7 Current Monthly Income
  1=1 Chapter 11 Current Monthly Income                                                   El Mailed by:
  El Certificate of Credit Counseling (Individuals only)                                      O Attorney
  1=1 Pay Advices (Individuals only) (2 Months)                                               El Debtor
  1=1 Chapter 13 Plan, complete with signatures (local form)                                  1=1 Other:
  El Corporate Resolution (Business Ch. 7 & 11)
                                                                                          El Email [Pursuant to General Order 45-2021, this
  Ch.11 Business                                                                          petition was received for filing via email]
  El 20 Largest Unsecured Creditors
  N List of Equity Security Holders                                                                  History of Case Association
  El Small Business - Balance Sheet                                                       Prior cases within 2 years: none
  1=1 Small Business - Statement of Operations
  El Small Business - Cash Flow Statement
  O Small Business - Federal Tax Returns                                                  Signature:
                                                                                          Acknowledgment of receipt of Deficiency Notice
  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  El Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
        [iff Paid $         CI 2g-Order Granting     0 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
        CI 2d-Order Denying with filing fee of $         due within 10 days CI IFP filed (Ch.7 Individuals Only)
           1 Order Regarding Unpaid Case Filing Fee.
               You may mail documents and filing fee payments (no cash or personal checks accepted - cashier's check or money orders only) to the address below.
                             All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000

 Intake Clerk: A.Mezon                       Date: 6/2/22                       Case Opener:                                           Date:
